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AIR.

Letter of Agreement

February 2, 2014 Furlough Postponement and Captain Upgrades

January 24, 2014

Dear Captain Ziebarth,

The Company and the Union agree to the following to prevent the furlough of twelve (12)
Crewmembers scheduled for February 2, 2014:

The furloughs effective on February 2, 2014 shall be postponed until February 17, 2014, pending
ratification of this Letter of Agreement (“LOA”). The ratification is scheduled to conclude on or about
February 11, 2014, Furloughs shall be cancelled on February 11, 2014 if this LOA is ratified by the
membership. If this LOA is not ratified, the furlough shall be effective 12:01 a.m. on February 17, 2014,
with no additional notice to crewmembers presently designated for furlough. Additionally, in the event
the LOA is not ratified, Furlough Pay as set forth in Article 7 A 4 shall be paid retroactively to February 2,
2014. A Crewmember designated for furlough who was awarded a line in February, 2014 that included
work days, including reserve days, prior to February 17, 2014 shall be compensated for those days in

i to the Furlough Pay.

 

 
  
 

all upgrade five (5) First Officers to Captain and shall issue proffers for those positions
s shall designate the Captain positions as Dual Qualified Captains (“DOC”) as
nt.that one or more currently qualified Captain(s) is awarded the proffered
position he shall be designate: as a DQC. For each currently qualified Captain (s) who is awarded a DQC
vacancy an additional DQC vacancy shall be awarded in the domicile from which the currently qualified
Captain originated until five (5) First,Officers have been awarded a Captain position, as set forth in
Article 11, in the event more Crewmerr ibers have been awarded a DQC proffer in a particular domicile
than originally proffered, the most j junior Crewmembers awarded the proffer in the domicile with an
excess of DQC positions shall hold the bac designation, any remaining successful- bidders shall not be
designated as such. Training shall commence within five (5) days of ratification of this LOA.

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immediately. The pro

 

   

 

   

 

EXHIBIT

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145 Hunter Drive « Wilmington, Ohio 45177 © (937) 382-5591 e www.abxair.com

  
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one basis, in order of seniority. No other Captain shail be designated as a DOC as Captain vacancies are
filled, or as Captains leave the employment of the Company.

Effective with the March, 2014 bid period, the Company may restrict vacation buy back to no more than
two (2) weeks per crewmember during the term of this LOA. Vacation sold back in January and February,
2014 shall count against this limit. The Company shall buy back those vacation weeks that are available
for sell back, in order of seniority among crewmembers selling back vacation. In the event that the trips
that a crewmember offered to sell back but was denied are awarded in Open Flying, the crewmember
who was denied the opportunity to sell back those trips shall have first right of refusal for those trips.

This LOA shall terminate if the Company furloughs or implements a surplus after the effective date of

this LOA or on December 31, 2014, whichever occurs earlier. Such furloughs and surpluses shall be
conducted in accordance with Article 7 and Article 11 F and G respectively.

For ABX Air, Inc.: For Airline Professionals Association,
Teamsters Local 1224:

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Robert Gray, Vice-President Captain Richard Ziebath,
Flight Operations Executive Council Chairman
ABX Air, Inc. Airline Professionals Association,

Teamsters Local 1224

 

Daniel C. Wells, President

Airline Professionals Association,
Teamsters Local 1224

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Date Date

 

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